Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 1 of 16            FILED
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                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 2 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 3 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 4 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 5 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 6 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 7 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 8 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 9 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 10 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 11 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 12 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 13 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 14 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 15 of 16
Case 2:15-cv-00997-JHE Document 143 Filed 10/26/18 Page 16 of 16
